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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                 DISTRICT OF ARIZONA
 8
 9   United States of America,                        No. CR-20-00634-1-PHX-DWL
10                 Plaintiff,                                     ORDER
11         vs.
                                                               (First Request)
12   Jill Marie Jones,
13                 Defendant.
14
            Upon motion of Defendant, with no objection from the Government, and good
15
     cause appearing,
16
            IT IS ORDERED granting Defendant’s Motion to Continue CIPA Section 2
17
     Pretrial Conference (Doc. 104) for the reasons stated in Defendant's motion
18
            IT IS FURTHER ORDERED continuing the CIPA Section 2 Pretrial Conference
19
     from November 15, 2022, to November 28, 2022, at 3:00 p.m.
20
            Dated this 14th day of November, 2022.
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